8:09-cr-00081-BCB-SMB         Doc # 155     Filed: 10/19/09    Page 1 of 3 - Page ID # 515




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:09CR81
                                               )
              Plaintiff,                       )
                                               )               MEMORANDUM
              vs.                              )                AND ORDER
                                               )
BRADFORD WINNIE,                               )
                                               )
              Defendant.                       )

        This matter is before the Court on the Defendant’s appeal (Filing No. 153) from the

Magistrate Judge’s order (Filing No. 143) denying the Defendant’s motion to sever (Filing

No. 118). The Court has considered the record, including the Defendant’s brief (Filing No.

154), the transcript of the evidentiary hearing (Filing No. 142), and the evidence (Filing No.

137).

                                FACTUAL BACKGROUND

        The Defendant, Bradford Winnie, is one of six defendants charged in a 22-count

Superseding Indictment alleging drug trafficking and gun charges. Winnie is charged in

Counts VI (possessing stolen firearms and ammunition, in violation of 18 U.S.C. §§ 922(j)

and 924(a)(2)) and VIII (criminal forfeiture of firearms). Winnie argues that his charges

allege only minimal involvement on one day, January 15, 2009, while the other defendants

are alleged to be more culpable over a longer period of time. Winnie argues that a limiting

instruction would be inadequate. The government argues that Winnie and the other

defendants all participated in drug or gun sales that led up to a February 26, 2009, home

invasion with the purpose of effecting a drug robbery. The government states that, even if
8:09-cr-00081-BCB-SMB        Doc # 155    Filed: 10/19/09    Page 2 of 3 - Page ID # 516




Winnie is severed, it would need to introduce some of the same evidence against Winnie

that it intends to introduce against the defendants in a joint trial. The government also

states that because each drug or gun sale was recorded on audio or video tape, there will

be no doubt in the jurors’ minds regarding the identity of the participants, lessening

prejudice against Winnie.

      Judge Gossett concluded that none of the defendants1 moving for severance

presented any evidence showing that the jury would be unable to compartmentalize the

evidence against each defendant.

                                     DISCUSSION

      Under 28 U.S.C. § 636(b)(1)(A), the Court has reviewed the order from which this

appeal has been taken. In an appeal from a magistrate judge's order on a pretrial matter

within 28 U.S.C. § 636(b)(1)(A), a district court may set aside any part of the magistrate

judge's order shown to be clearly erroneous or contrary to law. 28 U.S.C. § 636(b)(1)(A).

      As the Eighth Circuit has stated, a clear preference for joinder of two or more

codefendants exists in order to minimize judicial economy and efficiency. United States

v. Clay, 579 F.3d 919, 927 (8th Cir. 2009). “Only in an unusual case will the prejudice

resulting from a joint trial be substantial enough to outweigh the general efficiency of

joinder.” United States v. El-Esawi, 560 F.3d 888, 891 (8th Cir. 2009).




      1
       Defendants Gregory Stanek, Michael Davis, and Kenny Dofner also moved for
severance. Only Winnie appealed from Judge Gossett’s order.

                                            2
8:09-cr-00081-BCB-SMB         Doc # 155     Filed: 10/19/09   Page 3 of 3 - Page ID # 517




       On appeal, Winnie raises the same arguments as those raised initially. The Court

agrees with Judge Gossett that he has not shown a “clear likelihood of prejudice” that

would overcome the preference for a joint trial. United States v. Boone, 437 F.3d 829, 837

(8th Cir. 2006).

       Accordingly,

       IT IS ORDERED:

       1.      The Defendant’s appeal from the Magistrate Judge’s Order (Filing No. 153)

is denied; and

       2.      The Magistrate Judge’s order denying severance (Filing No. 143), is affirmed.

       DATED this 19th day of October, 2009.

                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  United States District Judge




                                             3
